 

 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 1 of 12

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ALT le redo TJ ORRLS

 

 

2S HAR 29° PH 2: kg

 

(In the space above enter the full name(s) of the plaintiff(s).} Sa OF MY,
COMPLAINT

~against-

VI Vv € £0 [sch Op arto ont jury Trial: Hres a No

(check one)

 

AC DipraF molt oF Aurldiygs
2 a SoUTh  Adsucra eS

 

 

 

 

 

 

 

(In the space above enter the full name(s) of the defendant(s). Ifyou
cannot fit the names of all of the defendants in the space provided,
please write “see attached” in the space above and attach an
additional sheet of paper with the full list of names. The names
listed in the above caption must be identical to those contained in
Pari lI, Addresses should noi be included here.)

i. Parties in this complaint:

A. List your name, address and telephone number. If you are presently in custody, include your
identification number and the name and address of your current place of confinement. Do the same
for any additional plaintiffs named. Attach additional sheets of paper as necessary.

Plaintiff Name val) 1 (FEL? d oO FORR os
Street Address Lf VO We? CO al o/ A Ve ALY Qo Aer 2K
County, City IN O49 Yokls AS: Ye pool

State & Zip Code

Telephone Number > Jen ¢Y 7 / 735 “7 _

 

B. _ List all defendants. You should state the full name of the defendant, even if that defendant is a
government agency, an organization, a corporation, or an individual. Include the address where
each defendant may be served. Make sure that the defendant(s) listed below are identical to those
contained in the above caption. Attach additional sheets of paper as necessary.

Delcadant No. 1 Name WV C° BP 0 / “CL. Q wl _
Street Addresh On  Polscd pla 24. oN

ae 05/2010 Nau 1 yok W y /00 07 .
 

 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 2 of 12

County, City Ai@u Hole 1 WV: 2
State & Zip Code gow oO “f
Telephone Number

Defendant No. 2 Name i iC LY CRA Pe mal OF 8 UW Lojhs
Street Address t 2G oO 8B ac Ad WAVY *
County, City AO enle Alas?
State & Zip Code f oa OO Fo
Telephone Number

Defendant No. 3 Name BR o//euvd No aN ASS AcH#2S —
Street Address g Oe BR D re WAL
County, City pro LA (ok. OS V :
State & Zip Code f ADO LO of
Telephone Number

 

 

 

 

Defendant No. 4 Name
Street Address
County, City
State & Zip Code
Telephone Number

 

 

 

 

 

Ii, Basis for Jurisdiction:

Federal courts are courts of limited jurisdiction. Only two types of cases can be heard in federal court:
cases involving a federal question and cases involving diversity of citizenship of the parties. Under 28
U.S.C. § 1331, a case involving the United States Constitution or federal laws or treaties is a federal
question case. Under 28 U.S.C. § 1332, a case in which a citizen of one state sues a citizen of another
state and the amount in damages is more than $75,000 is a diversity of citizenship case.

A. What is the basis for federal court jurisdiction? (check all that apply)
Bh Federal Questions O Diversity of Citizenship
B. If the basis for jurisdiction is Federal Question, what federal Constitutional, statutory or treaty right

is at issue? {). Ss: Coy, YVdlods 2 - us noasevtrh [op Somecl z
Flastst Fela $L Reawldme alt > ASSaU Jt 5 fEAIS&
Renrast >, zn lsg IW PASant an

Cc, if the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each party?

Plaintiff(s) state(s) of citizenship

 

Defendant(s) state(s) of citizenship

 

THE. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations of all relevant events.

Rev. 05/2010

 
 

 

* ise

 

 

 

 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 3 of 12

You may wish to include further details such as the names of other persons involved in the events giving
rise to your claims. Do not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim ina separate paragraph. Attach additional sheets of paper as necessary.

A. Where did the events giving rise to your claim(s) occur? S LQ A Hnchd d
CoO aS [AfA/ a

 

 

 

 

 

 

 

 

 

B. What date and approximate time did the events giving rise to your claim(s) occur?
C. Facts:

What

happened

to you?

Whe did

what?

 

 

 

 

 

 

 

Was anyone
else
Involved?

 

 

 

 

Who else
sow what
happened?

 

 

 

 

 

 

 

 

 

 

TY. Injuries:

If you sustained injuries related to the events alleged above, describe them and state what medical
treatment, if any, you required and = received.

JoRy cholecay faavia § psy Chava PADLAa, ,

 

 

 

 

 

 

 

 

 

 

 

\
Rev. 012010 \
 

 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 4 of 12

Vv. Relief:
State what you want the Court to do for you and the amount of monetary compensation, if any, you are

seeking, and the basis for such compensation.

LO ‘ A Zé.
f /O., 000 900 © (00 (Fans n ms tion! ce Ties )

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Signed this 29 day of manch ,20 /G
Signature of Plaintiff LI-Lpadio Thee

Mailing Address Y 70 "Sec ov of x Andy volea)
WYC (00/6

 

Telephone Number Zj2 ¥ ¢7 [75 Tf

Fax Number (if you have one)

 

Nate: All plaintiffs named in the caption of the complaint must date and sign the complaint. Prisoners
must also provide their inmate numbers, present place of confinement, and address.

For Prisoners:

I declare under penalty of perjury that on this day of , 20_, lam delivering
this complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for

the Southern District of New York.

Signature of Plaintiff:

 

Inmate Number

 

Rev. 05/2010
 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 5 of 12

PRO-SE

CIV.

United States District Court

Southern District of New York

 

Wilfredo Torres,

Plaintiff

-against-

New York City Police Department

New York City Department of Buildings
Bellevue South Associates,

Defendants

 
 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 6 of 12

COMPLAINT:

 

Since 2003 I have complained to my landlord,
Bellevue South Associates (“Bellevue”), and
to the New York City Department of Buildings
(“DOB”), that a commercial coal oven at 462
Second Avenue, and its chimney erected in
close proximity to my apartment are illegal
and represent a serious threat to my health.

Exhibit 1.

On June 22, 2015, | appeared at the Office of

the Inspector General of “DOB”, where I met
 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 7 of 12

3.
with investigator Jacob Petersen and filed a
complaint of corruption against the agency
for refusing to enforce its own laws related to

the illegal oven and chimney. Exhibit 2.

On July 20, 2015, Mr. Petersen dismissed my

complaint.

| persisted complaining to “Bellevue”, to
“DOB”, and to government officials, and on
September 28, 2015 at about 9:00AM
policeman “Fryc”, “Machio”, and about four

(4) others from the New York City Police
 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 8 of 12

-4-
Department, along with an employee from
“Bellevue”, raided my apartment at gun-point
after breaking its door; handcuffed, arrested,
interrogated, and threatened me; searched
the entire apartment; and casually left while

stating “the landlord will replace your door”.

They did not have a search-warrant, and left a
note claiming that the Inspector General of
“DOB”, Mr. Denis McGowan, had ordered the
raid. Exhibit 3.
 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 9 of 12

-5-
This left me traumatized, humiliated, in fear
for my life, and violated my federal and state

Constitutional rights.

Wilfredo Torres”
470 Second Avenue Apt.2-A
New York, N.Y. 10016

Telephone: 212-447-1737

 

 
 

 

Document 1:.: File 03/29/16 Page: 10 of 12

 

 
 
 
 

 
 

Case 1:16-cv-02362-RA-KNF Document1 Filed 03/29/16 Page 11 of 12

June 22, 2015

City of New York
Department of Investigation

Attn. Mr. Jacob Peterson, Investigator
11 Park Place Suite 204

New York, N.Y.

 

Dear Mr. Peterson:

On 8-06-14, I sent a letter to the Mayor denouncing
corruption at DOB and DEP in relation to an illegal
coal fired-oven and chimney in my building of
residence. See copy, photograph, and news article.

On 3-25-15, I filed a complaint at DOI. See copy.
On 5-21-15, | filed 311 complaint #1-1-1105574941.,

A few days ago the DOB inspector dismissed it faisely
Stating that it had been corrected through alteration
#140282860. That alteration Pinot related to this
violation. See copy.

DOB continues its corrupt practices in this case.

Thank you for investigating this matter.
7 —o

wot /QV8

Wilfredo Torres ~

470 Second Avenue Apt.2-A

New York, N.Y. 10016

Telephone: 646-476-4142
 

 

Case 1:16-cv-02362-RA-KNF Document 1 Filed 03/29/16 Page 12 of 12

 

 

 

 

Hea OW AW , Dennys
